     Case 2:24-cv-00881-EJY     Document 23     Filed 07/22/24   Page 1 of 26



 1   LEON GREENBERG, ESQ., SBN 8094
 2   RUTHANN DEVEREAUX-GONZALEZ, ESQ., SBN 15904
     Leon Greenberg Professional Corporation
 3   1811 South Rainbow Blvd - Suite 210
 4   Las Vegas, Nevada 89146
     (702) 383-6085
 5   (702) 385-1827(fax)
 6   leongreenberg@overtimelaw.com
     ranni@overtimelaw.com
 7

 8   JAMES P. KEMP, ESQ.
     Nevada Bar No. 006375
 9   KEMP & KEMP, ATTORNEYS AT LAW
10   7435 W. Azure Drive, Suite 110,
     Las Vegas, NV 89130
11   (702) 258-1183/ (702) 258-6983 (fax)
12   jp@kemp-attorneys.com
13   Attorneys for Plaintiffs
14
                           UNITED STATES DISTRICT COURT
15                              DISTRICT OF NEVADA
16   JASMINE SOLARES, ESTEFANIA                )
                                               ) Case No.: 24-cv-881-EJY
17   CORREA RESTREPO and STEVEN                )
     REID                                      )
18                                             ) FIRST AMENDED
                                               ) COMPLAINT
19                               Plaintiffs,   )
                                               )
20                                             )
     vs.                                       ) JURY TRIAL DEMANDED
21                                             )
                                               )
     AMAZON COM SERVICES LLC                   )
22                                             )
                                               )
23
     Defendants.
24

25         COMES NOW THE PLAINTIFFS, by and through their counsel, LEON
26
     GREENBERG, ESQ., and RUTHANN DEVEREAUX-GONZALEZ, ESQ., of
27

28
                                               1
     Case 2:24-cv-00881-EJY    Document 23     Filed 07/22/24   Page 2 of 26



 1   LEON GREENBERG PROFESSIONAL CORPORATION and JAMES P. KEMP,
 2
     ESQ., of KEMP & KEMP, ATTORNEYS AT LAW and states and alleges causes
 3

 4   of action against the Defendant(s) as follows:

 5

 6
                                   JURISDICTION AND VENUE

 7
            1.       This Court has original federal question jurisdiction over the
 8

 9    claims presented herein pursuant to the Act of June 25, 1938, ch 676, 52 Stat
10
      1069, 29 USC Sections 201-219, known as the Fair Labor Standards Act ("the
11
      FLSA"), a law of the United States regulating interstate commerce, and
12

13    specifically under the provisions of Section 16 of said act, as amended (29 U.S.C.
14
      § 216(b)).     The Court has supplemental jurisdiction over the State Law claims
15
      alleged herein pursuant to 28 U.S.C. § 1367(a).
16
            2.     This Court also has jurisdiction over the State Law claims made
17

18    herein pursuant to 28 U.S.C. § 1332, the Class Action Fairness Act, in that the
19
      defendant is not a citizen of the State of Nevada and the amount in controversy
20
      exceeds $5,000,000.
21

22          3.     Venue is proper in the unofficial Southern Division of the Court as
23
      the acts complained of took place in Clark County, Nevada.
24

25

26

27

28
                                              2
     Case 2:24-cv-00881-EJY     Document 23      Filed 07/22/24   Page 3 of 26



 1          FACTUAL ALLEGATIONS GIVING RISE TO THE CLAIMS
 2

 3

 4          4.     The defendant Amazon.Com Services LLC (“Amazon”) is a

 5    Delaware limited liability corporation with its principal place of business and
 6
      headquarters in the State of Washington.
 7

 8          5.     Amazon conducts business in Clark County Nevada and has

 9    employees who work for it in Clark County Nevada.
10
            6.     Currently, and during each of the four years prior to the filing of this
11

12    action, Amazon has employed over 500 persons as hourly compensated
13    “Customer Returns Processor” and/or “Problem Solver” or similar hourly
14
      compensated employees at its “LAS2 Amazon Returns Facility” (“LAS2”)
15
      located in North Las Vegas, Clark County, Nevada.
16

17          7.     Plaintiff Estefania Correa Restrepo is a former employee of Amazon
18    who has worked at LAS2 as a Customer Returns Processor and/or Problem Solver
19
      and/or other positions that Amazon agreed to compensate for her work at an
20

21    hourly rate of between $15.00 and $19.00 an hour and is a resident of Clark
22    County. Plaintiff Steven Reid is a former employee of Amazon who has worked
23
      at LAS2 as a Machine Operator and/or other positions that Amazon agreed to
24

25    compensate for his work at an hourly rate of approximately $17.00 an hour or a
26    different hourly rate and is a resident of Clark County.
27

28
                                               3
     Case 2:24-cv-00881-EJY    Document 23    Filed 07/22/24   Page 4 of 26



 1          8.     The violations of the FLSA and Nevada law alleged herein
 2
      sustained by plaintiffs Estefania Correa Restrepo and Steven Reid, involving the
 3

 4    non-payment of overtime wage and/or minimum wages and/or other earned but

 5    unpaid wages, was constant throughout their employment with Amazon at LAS2
 6
      occurring in many and most if not all, workweeks of such employment. Estefania
 7

 8    Correa Restropo additionally identifies the seven-day workweeks of January 8
 9    through January 14, 2023, and January 22 through January 28, 2023, as involving
10
      weeks where she worked for Amazon at LAS2 and did not receive overtime pay,
11

12    as required by the FLSA and Nevada law, for all of the work she performed in
13    excess of 40 hours during each such week. Steven Reid additionally identifies
14
      the seven-day workweek of December 19 through December 25, 2021, as
15
      involving a week where he worked for Amazon at LAS2 and did not receive
16

17    overtime pay, as required by the FLSA and Nevada law, for all of the work he
18    performed in excess of 40 hours during such week.
19

20

21          9.     Plaintiff Jasmine Solares is a current employee of defendant
22
      Amazon who has worked at LAS2 as a Customer Returns Processor and/or
23
      Problem Solver that Amazon agreed to compensate for her work at an hourly rate
24

25    of between $15.00 and $19.00 an hour and is a resident of Clark County.
26

27

28
                                             4
     Case 2:24-cv-00881-EJY     Document 23     Filed 07/22/24    Page 5 of 26



 1          10.     The violations of the FLSA and Nevada law alleged herein
 2
      sustained by plaintiff Jasmine Solares, involving the non-payment of overtime
 3

 4    wages and/or minimum wages and/or other earned but unpaid wages, was

 5    constant throughout her employment with Amazon at LAS2 occurring in many, if
 6
      not most, workweeks of such employment. She additionally identifies the seven-
 7

 8    day workweek of May 28, 2023, through June 3, 2023, as involving a week where
 9    she worked for Amazon at LAS2 and did not receive overtime pay, as required by
10
      the FLSA and Nevada law, for all of the work she performed in excess of 40
11

12    hours during such week.
13

14
            11.     The circumstances alleged by Estefania Correa Restrepo, Steven
15
      Reid and Jasmine Solares (“Plaintiffs”), in respect to the non-payment of wages
16

17    and/or overtime wages owed to them for time they worked for Amazon at LAS2,
18    are common to a large group of similarly situated hourly compensated Customer
19
      Returns Processors and Problem Solvers and Machine Operators and similar
20

21    hourly compensated employees of Amazon who also worked at LAS2, such
22
      similarly situated persons numbering over 500.
23
            12.     As a term and condition of their employment at LAS2, Plaintiffs,
24

25    and those similarly situated to the Plaintiffs, were required, at the conclusion of
26

27

28
                                               5
     Case 2:24-cv-00881-EJY     Document 23     Filed 07/22/24   Page 6 of 26



 1    their workday for Amazon, to submit to a security screening (the “Shift End
 2
      Security Screening”) before being allowed the leave the LAS2 building.
 3

 4          13.     Amazon paid wages to the Plaintiffs and those similarly situated

 5    based only on the time Amazon recorded as working time for such persons in its
 6
      timekeeping system; wages were not paid by Amazon for time that the Plaintiffs
 7

 8    and those similarly situated worked for Amazon at LAS2 that was not recorded as
 9    working time in that timekeeping system
10
            14.     Amazon required the Plaintiffs, and those similarly situated, at the
11

12    conclusion of each day’s work shift at LAS2, and prior to such persons’ submittal
13    to Amazon’s Shift End Security Screening, to clock out on Amazon’s employee
14
      time keeping system at one or more Amazon punch clocks located within the
15
      LAS2 building.
16

17          15.     It would take the Plaintiffs and those similarly situated, if they were
18    allowed to do so, approximately one minute or less to directly walk out of the
19
      LAS2 building after using an Amazon punch clock within the LAS2 building at
20

21    the end of their work shift.
22
            16.     Plaintiffs and those similarly situated, because they were required
23
      to submit to Amazon’s Shift End Security Screening, would experience a delay in
24

25    being able to exit the LAS2 building after using the Amazon punch clock within
26
      the LAS2 building to clock out on Amazon’s timekeeping system. That delay
27

28
                                               6
     Case 2:24-cv-00881-EJY    Document 23     Filed 07/22/24   Page 7 of 26



 1    was caused by the long lines at the security screening stations and the need to
 2
      submit their person and belongings to inspection and/or search by Amazon. That
 3

 4    delay for most such persons would typically be between approximately 10 to 15

 5    minutes with longer periods of time being required when they were designated for
 6
      more thorough secondary searches under Amazon’s protocols.
 7

 8          17.     The Plaintiffs and those similarly situated were required by
 9    Amazon to work at LAS2 for shifts with specified start and end times, typically
10
      scheduled to be 10.5 hours in length each workday.
11

12          18.     The Plaintiffs and those similarly situated during each full daily
13    work shift that they worked for Amazon at LAS2 were required to take a 30
14
      minute long unpaid meal period (the “Meal Period”) approximately midway
15
      through their daily 10.5 hour long scheduled work shift. That Meal Period was
16

17    not compensated by Amazon and was intended and designated by Amazon to
18    provide a period for LAS2 workers to eat a meal.
19
            19.     The Plaintiffs, and most of those similarly situated, primarily
20

21    worked one of two shifts at LAS2, either a daytime shift from 6:30 a.m. or 7:00
22
      a.m. to 5:00 p.m. or 5:30 p.m. or a nighttime shift from 6:30 p.m. or 7:00p.m. to
23
      5:00 a.m. or 5:30 a.m. (the “Two Primary Shifts”) consisting of 10 scheduled
24

25    compensated working hours each day plus an uncompensated Meal Period of 30
26
      minutes. Amazon would require one-half of the workers on each of the Two
27

28
                                              7
     Case 2:24-cv-00881-EJY    Document 23     Filed 07/22/24   Page 8 of 26



 1    Primary Shifts to take their Meal Period during an assigned 30 minute long period
 2
      and the other one-half during a different assigned 30 minute long period.
 3

 4          20.    The Plaintiffs and those similarly situated during their Meal Period

 5    were prohibited by Amazon from remaining at their assigned workstations. They
 6
      were required by Amazon to leave their assigned workstations and be absent from
 7

 8    such workstations and the working areas of the LAS2 building for that Meal
 9    Period.
10
            21.    Amazon required the Plaintiffs, and those similarly situated, to
11

12    commence their Meal Period by clocking out for its commencement on Amazon’s
13    employee time keeping system at one or more Amazon punch clocks located
14
      within the LAS2 building.
15
            22.     Amazon required the Plaintiffs and those similarly situated who
16

17    worked at LAS2 to submit to a security screening (the “Meal Period Security
18    Screening”) during most of their workdays after they had commenced their Meal
19
      Period by clocking out on one of the Amazon punch clocks located within the
20

21    LAS2 building.
22
            23.    Amazon imposed the Meal Period Security Screening upon
23
      approximately 75% of the LAS2 workers such as the Plaintiffs and those
24

25    similarly situated each day they worked one of the Two Primary Shifts because
26
      (a) Amazon required that those workers leave the workplace areas of the LAS2
27

28
                                             8
     Case 2:24-cv-00881-EJY    Document 23      Filed 07/22/24   Page 9 of 26



 1    building during their Meal Period; (b) Amazon provided limited non-workplace
 2
      space (“Secondary Breakrooms”) within the LAS2 building that such workers
 3

 4    could access and that Amazon allowed them to stay in for their Meal Period and

 5    eat their meal without submitting to that Meal Period Security Screening; and (c)
 6
      Amazon required such workers, which were approximately 75% of the Two
 7

 8    Primary Shift workers, to submit to such a Meal Period Security Screening to
 9    either access a facility (the “Main Breakroom”) inside the LAS2 building that
10
      could accommodate them and that Amazon allowed them to spend such Meal
11

12    Period in or leave the LAS2 building entirely.
13          24.      It would take the Plaintiffs and those similarly situated, if they
14
      were not subjected to the Meal Period Security Screening, approximately one
15
      minute or less after they punched out on the Amazon timeclock system and began
16

17    their Meal Period to directly walk out of the LAS2 building or access the Main
18    Breakroom.
19
            25.    It would take the Plaintiffs and those similarly situated if they used a
20

21    Secondary Breakroom and by doing so avoided a Meal Period Security Screening
22
      approximately two to five minutes (their “Secondary Breakroom Travel”) after
23
      they punched out on the Amazon timeclock system and began their Meal Period
24

25    to directly walk to a Secondary Breakroom and utilize their Meal Period; that
26
      travel and time expenditure would be repeated at the end of such a Meal Period
27

28
                                              9
     Case 2:24-cv-00881-EJY    Document 23       Filed 07/22/24   Page 10 of 26



 1    when they would have to return to an Amazon punch clock’s location to punch
 2
      back in at the end of their Meal Period.
 3

 4          26.     Plaintiffs and those similarly situated, because they were required

 5    to submit to Amazon’s Meal Period Security Screening, would experience a delay
 6
      in being able to exit the LAS2 building or use the Main Breakroom after using an
 7

 8    Amazon punch clock to commence their Meal Period in Amazon’s timekeeping
 9    system. That delay, necessitated by the long lines at the security screening
10
      stations, and the need to submit their person and belongings to inspection and/or
11

12    search by Amazon, would typically be between approximately 5 to 10 minutes
13    with longer periods of time being required when they were designated for more
14
      thorough secondary searches under Amazon’s protocols.
15
            27.    Plaintiffs Estefania Correa Restrepo and Jasmine Solares, and most
16

17    of those similarly situated, were also required at the conclusion of their Meal
18    Period, to report to a different workstation than the workstation they had worked
19
      at prior to such Meal Period.
20

21          28.    Amazon required the Plaintiffs and those similarly situated to clock
22
      back in on Amazon’s timekeeping system at the end of their Meal Period on an
23
      Amazon punch clock in the LAS2 building. Amazon rigorously monitored that
24

25    they had done so and if that time clock punch was made as little as one minute
26
      later than 30 minutes after the beginning of their Meal Period Amazon could, and
27

28
                                                 10
     Case 2:24-cv-00881-EJY    Document 23     Filed 07/22/24   Page 11 of 26



 1    on occasion did, subject them to a reprimand or other negative actions such as a
 2
      loss of accrued unpaid time off that could also contribute to Amazon’s decision to
 3

 4    terminate their employment.

 5          29.     Plaintiffs and those similarly situated desired to avoid the negative
 6
      consequences Amazon imposed on them if they clocked back in on an Amazon
 7

 8    punch clock from their Meal Period even one minute more than 30 minutes after
 9    it commenced. As a result, they were forced by Amazon to set aside additional
10
      time which could and did range from approximately one minute to three minutes,
11

12    to que up at an Amazon punch clock and clock back in at no more than the 30th
13    minute after they had clocked out for their Meal Period (their “Meal Period End
14
      Que”). They were forced to expend that additional time by Amazon, which was a
15
      portion of their unpaid Meal Period time, because Amazon provided too few
16

17    punch clocks for them to punch back in at that 30 minute interval reliably and
18    without delay, as numerous workers would be seeking to use those limited
19
      number of punch clocks at the exact same time.
20

21          30.     The periods of time the Plaintiffs and those similarly situated spent
22
      in Shift End Security Screenings, Meal Period Security Screenings, Secondary
23
      Breakroom Travel, and Meal Period End Ques was “working time” for the
24

25    purposes of the FLSA, at least as not limited by the Portal-to-Portal Act, and for
26
      the purposes of Nevada Law as alleged herein. Such time was consumed by them
27

28
                                              11
     Case 2:24-cv-00881-EJY    Document 23     Filed 07/22/24   Page 12 of 26



 1    at the insistence and direction of their employer, Amazon. They received no
 2
      benefit from the activities they engaged in during those time periods and were
 3

 4    unable to use those periods of time as they chose. The activities Amazon forced

 5    them to engage in during those time periods solely benefited Amazon, by
 6
      reducing potential thefts from LAS2 and allowing Amazon to avoid the expense
 7

 8    of installing more punch clocks to alleviate the Meal Period End Que or
 9    Secondary Breakroom Travel times.
10
            31.     As a result of being forced to spend working time in the Meal
11

12    Period Security Screenings, Secondary Breakroom Travel, and Meal Period End
13    Ques imposed by Amazon, the Plaintiffs and those similarly situated during the
14
      majority of the shifts they worked at LAS2 did not actually have available for
15
      their personal use, whether to eat a meal or for other purposes, the full 30 minutes
16

17    of their uncompensated Meal Period.
18          32.    As a result of being forced to spend working time in the Meal
19
      Period Security Screenings, Secondary Breakroom Travel, and Meal Period End
20

21    Ques imposed by Amazon, the Plaintiffs and/or those similarly situated during
22
      some, many, or possibly all of the shifts they worked at LAS2, only had available
23
      for their personal use, whether to eat a meal or for other purposes, less than 20
24

25    minutes of their Meal Period.
26

27

28
                                              12
     Case 2:24-cv-00881-EJY    Document 23     Filed 07/22/24    Page 13 of 26



 1          33.     As a result of being forced to spend working time in Shift End
 2
      Security Screenings, Meal Period Security Screenings, Secondary Breakroom
 3

 4    Travel, and Meal Period End Ques, the Plaintiffs and those similarly situated

 5    during most of their workweeks at LAS2 were working more than 40 hours a
 6
      week and during such weeks the unpaid working time spent in such activities
 7

 8    should have been paid at applicable overtime (time and one-half) rates pursuant to
 9    either Nevada law and/or the FLSA as alleged infra.
10

11

12          CLASS AND COLLECTIVE ACTION ALLEGATIONS
13          34.     This is a putative class and collective action brought on behalf of
14
      the Plaintiffs and all persons similarly situated to the Plaintiffs who worked for
15
      the defendant Amazon at its LAS2 location in Clark County, Nevada. More
16

17    specifically, it is brought on behalf of all such persons employed on an hourly
18    compensation basis within the last three years in respect to the FLSA claims made
19
      herein and within such other applicable statute of limitations that governs the
20

21    claims made under Nevada Law. All such persons are owed unpaid wages and/or
22    overtime wages by Amazon as a result of its policies of not compensating such
23
      persons for working time Amazon forced them to spend complying with
24

25    Amazon’s Shift End Security Screening, Secondary Breakroom Travel, Meal
26
      Period Security Screening, and/or Meal Period End Que policies and/or for not
27

28
                                              13
     Case 2:24-cv-00881-EJY    Document 23     Filed 07/22/24   Page 14 of 26



 1    compensating them for the full 30 minutes of some or all of their Meal Periods.
 2
             35.   The class and collective action may include one or more sub-classes
 3

 4    if the Court finds that more manageable.

 5           36.   Upon information and belief, there are no collective bargaining
 6
      agreements applicable to the Plaintiff and/or members of the proposed plaintiff
 7

 8    class which waive the provisions of Article 15, Section 16 of the Constitution of
 9    the State of Nevada or any other protections afforded to employees by Nevada
10
      law.
11

12           37.   The Plaintiffs bring this action as a class action pursuant to Fed. R.
13    Civ. P. §23 in respect to the defendant Amazon’s violations of Nevada law on
14
      behalf of themselves and a class of the afore-alleged similarly situated persons
15
      employed by the defendant Amazon at LAS2.
16

17           38.   The Plaintiffs bring this action pursuant to Section 16(b) of the
18    FLSA as a collective action (also commonly referred to as an “opt-in” class), in
19
      respect to the defendant Amazon’s violations of the FLSA on behalf of
20

21    themselves and all of the afore-alleged similarly situated persons employed by the
22
      defendant Amazon at LAS2 who file a written consent with this Court to join this
23
      lawsuit and whom performed compensable work within the meaning of the FLSA
24

25    in excess of 40 hours a week but were not paid overtime wages or all of the
26
      overtime wages they were due for such work during such weeks.
27

28
                                             14
     Case 2:24-cv-00881-EJY     Document 23      Filed 07/22/24   Page 15 of 26



 1          39.     The Plaintiffs are informed and believe, and based thereon alleges
 2
      that there are over 500 putative class and collective action members. The actual
 3

 4    number of such persons is readily ascertainable by a review of the defendant

 5    Amazon’s records through appropriate discovery.
 6
            40.     There is a well-defined community of interest in the questions of
 7

 8    law and fact affecting the class as a whole.
 9          41.     Proof of a common or single set of facts will establish the right of
10
      each member of the class to recover. These common questions of law and fact
11

12    predominate over questions that affect only individual class members. The
13    Plaintiffs’ claims are typical of those of the class.
14
            42.     A class action is superior to other available methods for the fair and
15
      efficient adjudication of the controversy. Due to the typicality of the class
16

17    members’ claims, the interests of judicial economy will be best served by
18    adjudication of this lawsuit as a class action. This type of case is uniquely well-
19
      suited for class treatment since defendant Amazon’s practices were uniform and
20

21    the burden is on Amazon, as an employer, to establish that its method for
22
      compensating the class members complies with the requirements of Nevada law
23
      and the FLSA.
24

25          43.     The Plaintiffs will fairly and adequately represent the interests of the
26
      class and have no interests that conflict with or are antagonistic to the interests of
27

28
                                                15
     Case 2:24-cv-00881-EJY      Document 23      Filed 07/22/24    Page 16 of 26



 1     the class and have retained to represent them competent counsel experienced in
 2
       the prosecution of class action cases and will thus be able to appropriately
 3

 4     prosecute this case on behalf of the class.

 5         44.        The Plaintiffs and their counsel are aware of their fiduciary
 6
     responsibilities to the members of the proposed class and are determined to
 7

 8 diligently discharge those duties by vigorously seeking the maximum possible

 9 recovery for all members of the proposed class.

10
           45.        There is no plain, speedy, or adequate remedy other than by
11

12 maintenance of this class action. The prosecution of individual remedies by

13 members of the class will tend to establish inconsistent standards of conduct for the

14
     defendant and result in the impairment of class members’ rights and the disposition
15
     of their interests through actions to which they were not parties. In addition, the
16

17 class members’ individual claims are small in amount and they have no substantial

18 ability to vindicate their rights, and secure the assistance of competent counsel to do
19
     so, except by the prosecution of a class action case.
20

21                 AS AND FOR A FIRST CLAIM FOR RELIEF PURSUANT
                         TO THE FAIR LABOR STANDARDS ACT
22

23         46.            The Plaintiffs bring this First Claim for Relief pursuant to 29
24
     U.S.C. § 216(b) on behalf of themselves and all similarly situated persons who have
25
     filed, or will file, their written consents with the Court to join this lawsuit. The
26

27 Plaintiffs have previously filed with the Court such written consents on their own

28
                                                 16
     Case 2:24-cv-00881-EJY     Document 23     Filed 07/22/24   Page 17 of 26



 1 behalf. It is proposed that all such similarly situated persons promptly after the

 2
     commencement of this case be provided with notice of their ability to file such a
 3

 4 written consent, the names and last known addresses of all such persons being in the

 5 possession of the defendant Amazon.

 6
           47.           Pursuant to the applicable provision of the FLSA, 29 U.S.C. §
 7

 8 207, the Plaintiffs and those similarly situated were entitled to overtime pay at time

 9 and one-half their regular hourly rate for all hours they worked in excess of 40 hours

10
     a week, except if such working time was made non-compensable for the purposes of
11

12 the FLSA by the Portal-to-Portal Act, 29 U.S.C. §254(a), because it involved a

13 “postliminary” or “preliminary” activity at the beginning or end of a workday that

14
     was not also a “principal” activity of such persons’ employment by Amazon.
15
           48.         The time spent by the Plaintiffs and those similarly situated
16

17 performing the Meal Period Security Screenings, Secondary Breakroom Travel and

18 Meal Period End Ques required by Amazon, but not the Shift End Security
19
     Screenings, was compensable working time for the purposes of the FLSA. The time
20

21 so consumed in those activities was not excluded from compensability for FLSA

22
     purposes by the Portal-to-Portal act because:
23
           (a)     Such activities, and their associated time expenditures, were neither
24

25          postliminary nor preliminary to such persons’ principle activities for Amazon
26
           in its LAS2 facility involving the processing and handling of returned
27

28
                                               17
     Case 2:24-cv-00881-EJY    Document 23      Filed 07/22/24   Page 18 of 26



 1        merchandise since they did not take place either before or after the end of a
 2
          workday, measured from when such persons first and last performed such
 3

 4        principal activities for Amazon on such workday, as per 29 C.F.R. §790.6(a);

 5        29 C.F.R. §790.7(b) and 29 U.S.C. § 254(a); and
 6
          (b)     Such activities, and their associated time expenditures, were required
 7

 8        by Amazon and an integral part of such persons’ performance of their
 9        principle activities for Amazon. Plaintiffs Estefania Correa Restrepo and
10
          Jasmine Solares and most of those similarly situated were required by
11

12        Amazon to travel from the workstation where they were performing their
13        principle activities prior to their Meal Period and to a different workstation to
14
          continue such principle activities after the conclusion of their Meal Period.
15
          Travel time between locations where employees are performing their
16

17        principle activities after the commencement of their workday, which travel
18        time for plaintiffs Estefania Correa Restrepo and Jasmine Solares and most of
19
          those similarly situated in this case included the time they expended in
20

21        Amazon’s Meal Period Security Screenings, Secondary Breakroom Travel
22
          and Meal Period End Ques since Amazon required those activities of such
23
          persons in connection with such travel, is not excluded from compensability
24

25        for FLSA purposes by the Portal-to-Portal Act, as per 29 C.F.R. §790.7(c), 29
26
          U.S.C. § 254(a), and IBP v. Alvarez, 546 U.S. 21, 34-35 (2005).
27

28
                                              18
     Case 2:24-cv-00881-EJY     Document 23     Filed 07/22/24   Page 19 of 26



 1         49.       During certain or most or possibly all days the Plaintiffs and/or
 2
     some of those similarly situated worked for Amazon at LAS2 their entire Meal
 3

 4 Period and not just the time consumed by Amazon’s required Meal Period Security

 5 Screenings, Secondary Breakroom Travel and Meal Period End Ques, was

 6
     compensable working time for FLSA purposes. That was because they were
 7

 8 provided an amount of time of less than 30 minutes, and sometimes less than 20

 9 minutes, during that Meal Period in which they were freed of all duties by Amazon

10
     and able to sit down and eat a meal and otherwise use that time as they desired. As
11

12 a result, on those workdays that entire Meal Period was compensable working time

13 for FLSA purposes. See, 29 C.F.R. §785.18 and 29 C.F.R. §785.19.

14
           50.       Amazon’s failure to compensate the Plaintiffs and those similarly
15
     situated for the compensable working time spent by such persons during the
16

17 aforesaid Meal Periods, Meal Period Security Screenings, Secondary Breakroom

18 Travel, and Meal Period End Ques, violated the requirements of 29 U.S.C. §207, in
19
     that such amounts of time were compensable working time for purposes of the
20

21 FLSA that was in excess of 40 hours a week and for which the FLSA required

22
     Amazon to compensate such persons at a rate of time and one-half their regular
23
     hourly rate.
24

25         51.       Amazon’s violations of the FLSA were willful.
26
           52.       As a result of Amazon’s violations of the FLSA an award of unpaid
27

28
                                               19
     Case 2:24-cv-00881-EJY     Document 23     Filed 07/22/24   Page 20 of 26



 1 overtime wages, as required by the FLSA, along with an equal amount of liquidated

 2
     damages as provided for by the FLSA, and an award of attorney’s fees and costs, is
 3

 4 sought on behalf of the plaintiffs and all others similarly situated who join this case

 5 by filing a written consent to do so as provided for by 29 U.S.C. §216(b).

 6

 7

 8                  AS AND FOR A SECOND CLAIM FOR RELIEF FOR
                       UNPAID WAGES PURSUANT TO NEVADA’S
 9                         STATUTES AND CONSTITUTION
10

11         53.       The Plaintiffs reallege each and every afore-made allegation and
12
     bring this Second Claim for Relief pursuant to Nevada’s statutes and Constitution
13

14 for all unpaid wages owed to the Plaintiffs and the members of the alleged FRCP

15 Rule 23 class.

16         54.       Pursuant to Nevada’s Constitution, Article 15, Section 16, and
17
     N.R.S. §608.250 every employee in Nevada must be paid by their employer for each
18
19 hour worked at least the minimum hourly wage required by the same. When

20 Amazon failed to pay any wages whatsoever for certain periods of time worked by

21
     the Plaintiffs and the class members it violated those requirements of Nevada law.
22

23 Porteous v. Capital One Services II, LLC, 804 Fed. Appx. 354 (9 Cir. 2020).
                                                                  th


24
           55.       Pursuant to N.R.S. §608.016 every employee in Nevada must be
25
     paid wages by their employer for each hour worked and an employer cannot require
26

27 an hourly compensated employee to work periods of time without the payment of

28
                                              20
     Case 2:24-cv-00881-EJY      Document 23     Filed 07/22/24      Page 21 of 26



 1 any hourly wage for such periods of time. When Amazon failed to pay any wages

 2
     whatsoever for certain periods of time worked by the Plaintiffs and the class
 3

 4 members it violated those requirements of Nevada law. Porteous v. Capital One

 5 Services II, LLC, 804 Fed. Appx. 354 (9th Cir. 2020).

 6
           56.       Pursuant to N.R.S. §608.018 every hourly compensated employee in
 7

 8 Nevada must be paid wages by their employer for each hour worked in excess of 40

 9 hours in a week, and in some circumstances in excess of eight hours a day, at an

10
     overtime rate of time and one-half their regular hourly rate.
11

12

13         57.       The time spent by the Plaintiffs and those similarly situated
14
     performing the Meal Period Security Screenings, Secondary Breakroom Travel,
15
     Meal Period End Ques, and Shift End Security Screenings, was compensable
16

17 working time for the purposes of Nevada’s statutes and Constitution. In re

18 Amazon.com Inc., 905 F.3d 387 (6th Cir. 2018).
19
           58.       Pursuant to N.R.S. §608.019 every employee in Nevada who works
20

21 a continuous period of at least eight hours must be provided with a meal period of at

22
     least 30 minutes which period need not be compensated and no period of less than
23
     30 minutes can fulfill that requirement.
24

25         59.       During certain or most or possibly all days the Plaintiffs and/or
26
     some class members worked for Amazon at LAS2 their entire Meal Period and not
27

28
                                                21
     Case 2:24-cv-00881-EJY     Document 23     Filed 07/22/24   Page 22 of 26



 1 just the time consumed by Amazon’s Meal Period Security Screenings, Secondary

 2
     Breakroom Travel and Meal Period End Ques, was compensable working time for
 3

 4 the purposes of Nevada’s statutes and Constitution. That was because they were

 5 provided an amount of time of less than 30 minutes, and sometimes less than 20

 6
     minutes, during that Meal Period in which they were freed of all duties by Amazon
 7

 8 and able to sit down and eat a meal and otherwise use that time as they desired. On

 9 those workdays that entire Meal Period was compensable working time either

10
     because Nevada, as demonstrated by N.R.S. §608.019, required such Meal Periods,
11

12 to be non-compensable non-working time, provide at least 30 minutes during which

13 an employee is freed of all duties and able to sit and eat a meal, or a lesser period of

14
     time for the same that Amazon failed to provide. In re Amazon.com Inc., 905 F.3d
15
     387 (6th Cir. 2018).
16

17         60.       Amazon violated the aforesaid provisions of Nevada law by failing
18 to pay the Plaintiffs and the class members either the regular wages and/or the
19
     overtime wages Nevada required they be paid for the afore-alleged periods of time
20

21 such persons worked for Amazon but were paid no wages whatsoever by Amazon

22 for that time worked.

23
           61.       As a result of Amazon’s aforesaid violations of Nevada’s statutes
24

25 and its Constitution an award of unpaid minimum wages, unpaid wages and unpaid

26
     overtime wages, along with interest thereon, as required by the same, along with an
27

28
                                               22
     Case 2:24-cv-00881-EJY     Document 23     Filed 07/22/24   Page 23 of 26



 1 award of attorney’s fees and costs as provided for by Nevada’s Constitution and

 2
     N.R.S. § 608.260, along with all suitable and appropriate injunctive, equitable, or
 3

 4 other relief necessary to cure Amazon’s past violations of Nevada law and prevent

 5 any such violations in the future, is sought on behalf of the Plaintiffs and the class

 6
     members.
 7

 8                       AS AND FOR A THIRD CLAIM FOR RELIEF
                           FOR SEVERANCE WAGES/PENALTIES
 9                             PURSUANT TO N.R.S. 608.135
10
           62.       The Plaintiffs Estefania Correa and Steven Reid, former employees
11

12 of the defendant Amazon, reallege each and every afore-made allegation and bring

13 this Third Claim for Relief pursuant N.R.S. § 608.135 for the relief such Plaintiffs,

14
     and such class members who are also former employees of Amazon, may secure
15
     against Amazon pursuant to NRS § 608.040 and N.R.S. § 608.050.
16

17         63.       Amazon’s failure to pay former employees, such as Plaintiffs
18 Estefania Correa and Steven Reid, all wages owed to them by Amazon within the
19
     time periods specified by NRS § 608.020 and N.R.S. § 608.030 after the termination
20

21 of employment with Amazon renders Amazon liable to such persons for continuing

22
     wages (severance wages/penalties) and for other remedies as provided in NRS
23
     § 608.040 and N.R.S. § 608.050.
24

25         64.       Plaintiffs Estefania Correa and Steven Reid, and numerous other
26
     class members who are also former employees of Amazon, were not paid all wages
27

28
                                               23
     Case 2:24-cv-00881-EJY     Document 23     Filed 07/22/24   Page 24 of 26



 1 owed to them by Amazon within the time periods specified by NRS § 608.020 and

 2
     N.R.S. § 608.030 after the termination of their employment with Amazon. Such
 3

 4 violations occurred because when such persons terminated their employment with

 5 Amazon they were owed unpaid minimum wages, other wages and/or overtime

 6
     wages by Amazon that Amazon did not pay them and has still not paid them.
 7

 8         65.       As a result of Amazon’s aforesaid violations of NRS § 608.020 and
 9 N.R.S. § 608.030 Plaintiffs Estefania Correa and Steven Reid, on behalf of

10
     themselves and the numerous class members who are also former employees of
11

12 Amazon, seeks all relief available to such persons as provided for in NRS § 608.040

13 and N.R.S. § 608.050, including the maximum award to each such person provided

14
     by the same for continuing wages (severance wages/penalties) and such lien or other
15
     relief against Amazon that may be imposed by the same.
16

17                                 PRAYER FOR RELIEF
18         WHEREFORE, the Plaintiffs, on behalf of themselves and those similarly
19
     situated and the members of the alleged class, seek, on each of their claims for
20

21 relief, the relief as alleged aforesaid, including awards of unpaid wages, unpaid

22
     overtime wages, unpaid minimum wages, unpaid continuing wages/severance wages
23
     and penalties as per Nevada’s statutes, liquidated damages as provided for by the
24

25 FLSA, interest, attorney’s fees and costs, and all other equitable, injunctive, and

26
     monetary relief (be it compensatory or punitive damages) to which they may be
27

28
                                               24
     Case 2:24-cv-00881-EJY     Document 23      Filed 07/22/24   Page 25 of 26



 1 entitled under the circumstances.

 2
          Plaintiffs also demand a trial by jury on all issues so triable.
 3

 4        Dated this 22nd Day of July 2024

 5

 6
                                                   /s/ Leon Greenberg
 7                                           Leon Greenberg, Esq. NSB 8094
                                             Leon Greenberg Professional Corp.
 8
                                             1811 S. Rainbow Boulevard #210
 9                                           Las Vegas, NV 89146
                                             (702) 383-6085
10
                                             Attorney for Plaintiffs
11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                               25
     Case 2:24-cv-00881-EJY      Document 23      Filed 07/22/24    Page 26 of 26



 1

 2
                                     PROOF OF SERVICE
 3

 4         I hereby certify that the above and foregoing was electronically filed using

 5   the Court’s CM/ECF system on this 22nd day of July 2024, which will send
 6
     electronic notification of this filing to all counsel of record.
 7

 8

 9                                                     /s/ Ruthann Devereaux-Gonzalez
10                                                    Ruthann Devereaux-Gonzalez
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                 26
